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State of Georgia                                                               Invoice Date:      September 12, 2014
                                                                              Client Number:                  10539




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State of Georgia                                                               Invoice Date:        November 5, 2014
                                                                              Client Number:                  10539




Disbursements
Description                                                                                            Amount




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State of Georgia                                                                                 Invoice Date:        February 12, 2015
                                                                                                Client Number:                   10539


Disbursements
Description                                                                                                              Amount

01/07/2015     Public Access to Court Electronic Records                                                                   $2.20




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State of Georgia                                                               Invoice Date:          March 31, 2015
                                                                              Client Number:                  10539


                                                                                                    _________




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                                                                        Page 20 of 81July 31, 2015
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State of Georgia                                                                                Invoice Date:            August 26, 2015
                                                                                               Client Number:                     10539



                   SKE       Update pleadings index                                                     0.20    $50.00       $10.00


07 /25/2015        WJT       Review social media postings and statements                                0.60 $225.00        $135.00
                             regarding litigation from CMalamud; obtain for
                             review articles and materials referencing theories
                             defendant may rely on during litigation

07 /27/2015        LCP       Review articles published regarding the case;                              1.20 $225.00        $270.00
                             review relevant case law

07 /28/2015        WJT       Review draft statement providing overview of                               0.70 $225.00        $157.50
                             litigation to legislators and other persons; discuss
                             strategy with TAskew; continue review of media
                             and social media admissions by CMalamud

                   SKE       Update pleadings index                                                     0.60    $50.00       $30.00


07 /30/2015        LCP       Review Lexis terms and conditions document and                             0.80 $225.00        $180.00
                             free access exemption; reivew published articles
                             relating to the case;

07 /31/2015        LCP       Review copyright caselaw, history of westlaw and                           3.80 $225.00        $855.00
                             lexis litigation
                                                                                                                         _________




Disbursements
Description                                                                                                                Amount

07/31/2015     Invoice 1507360848 - LexisNexis                                                                             $203.22




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                                                              Invoice Date:
                                                                       Page 29 ofNovember
                                                                                  81      2, 2015
                                                            Client Number:                  10539




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State of Georgia                                                                            Invoice Date:            November 18, 2015
                                                                                           Client Number:                       10539



                   WJT   Revise joint preliminary report and discovery plan                         2.30 $225.00          $517.50
                         in view of comments from TAskew; discuss and
                         revise portion on format for document production;
                         begin analyzing and summarizing materials to
                         request from client for initial disclosures

10 /08/2015        ABA   Complete work on Answer to Counterclaim and                                0.70 $225.00          $157.50
                         Amended Complaint

                   LCP   Finalize and file amended complaint and answer to                          3.40 $225.00          $765.00
                         counterclaim; review rule 34 issues regarding Lexis'
                         production of documents

                   MMC   File Answer to Counterclaim with Court; docket                             0.60    $50.00         $30.00
                         filing of the same

                   SKE   Update pleadings index                                                     0.30 $130.00           $39.00


10 /12/2015        ABA   Work on Initial Disclosures                                                0.90 $225.00          $202.50


10 /13/2015        ABA   Conference call with Kermit Lowery at Lexis                                0.50 $225.00          $112.50
                         regarding Malamud case

                   LCP   Prepare initial disclosures; review of publication                         3.20 $225.00          $720.00
                         manual; review defendant's comments on joint
                         preliminary report

                   WJT   Finalize initial disclosures for review by client;                         7.10 $225.00         $1,597.50
                         discuss confidentiality designations with LPavento;
                         analyze defendant's markup to joint preliminary
                         report; summarize and provide recommendations to
                         TAskew and LPavento regarding same

                   SKE   Prepare notebooks for LPavento and TAskew                                  0.40    $50.00         $20.00


10 /14/2015        ABA   Work on Joint Preliminary Report                                           1.30 $225.00          $292.50


                   LCP   Prepare joint preliminary report including review of                       2.50 $225.00          $562.50
                         opposing counsel's changes; review expert report in
                         ASTM case

                   WJT   Discuss discovery issues and strategy with                                 2.10 $225.00          $472.50
                         LPavento; propose revisions to joint preliminary
                         report for approval by TAskew; correspond with
                         opposing counsel regarding edits to joint
                         preliminary report, and attend to filing once
                         approved


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                   MMC   Finalize and file Joint Preliminary Report and                             0.50    $50.00         $25.00
                         Discovery Plan with Court

10 /15/2015        SKE   Update pleadings index                                                     0.20    $50.00         $10.00


10 /16/2015        LCP   Prepare for and telephone conference with                                  2.80 $225.00          $630.00
                         opposing counsel ERader regarding possible
                         settlement; prepare joint stipulation of facts

                   WJT   Discuss confidentiality issues and protective order                        0.60 $225.00          $135.00
                         with LPavento; finalize edits to initial disclosures

10 /19/2015        ABA   Consider settlement issues                                                 1.40 $225.00          $315.00


                   ABA   Review initial disclaimers from Public                                     0.60 $225.00          $135.00
                         Resource.org

10 /20/2015        LCP   Prepare joint stipulation of facts                                         7.50 $225.00         $1,687.50


10 /21/2015        WJT   Discuss confidentiality and litigation; begin review                       1.50 $225.00          $337.50
                         and revise of draft stipulation of facts

10 /22/2015        LCP   Prepare for and meeting with WAllen and                                    3.50 $225.00          $787.50
                         BHowerton regarding possible settlement terms;
                         prepare settlement terms; review Public Resource
                         answer to amended complaint

                   WJT   Complete review and comments on proposed                                   2.40 $225.00          $540.00
                         stipulated set of facts; discuss issues for 10.22
                         meeting with client with LPavento; in follow up to
                         client meeting, discuss potential technical issues
                         with Lexis free Code site and opportunities to
                         modify capabilities of the website, and plan for
                         proposing stipulated protective order, including
                         what scope of order would be; create redline of
                         Public Resource's amended answer to original
                         answer and counterclaim and send to team: discuss
                         same with MCogburn and recommend we treat
                         counterclaim as amended counterclaim and docket
                         our answer

                   MMC   Attend to and docket filing of Answer to Amended                           0.40    $50.00         $20.00
                         Complaint and Counterclaim

10 /23/2015        WJT   Discuss topics for upcoming call to opposing                               0.30 $225.00           $67.50
                         counsel with LPavento, including directions for
                         protective order

10 /26/2015        SKE   Update pleadings index                                                     0.20    $50.00         $10.00

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State of Georgia                                                                                Invoice Date:          November 18, 2015
                                                                                               Client Number:                     10539



10 /28/2015        LCP       Further prepare letter to LexisNexis and joint                             1.20 $225.00        $270.00
                             stipulation of facts

10 /29/2015        ABA       Work on stipulation of facts                                               2.10 $225.00        $472.50


10 /30/2015        ABA       Work on stipulation of facts                                               2.00 $225.00        $450.00


                   LCP       Further prepare joint stipulation of facts; telephone                      6.10 $225.00       $1,372.50
                             conference with opposing counsel ERader
                             regarding possible settlement; prepare language
                             regarding official nature of the code; prepare letter
                             to LexisNexis regarding cost sharing
                                                                                                                        _________




Disbursements
Description                                                                                                                Amount

09/30/2015     Online research Invoice 1509359984 - LexisNexis                                                             $696.70

10/31/2015     Invoice 1510359429 - LexisNexis                                                                           $1,232.63




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State of Georgia                                                                            Invoice Date:          December 10, 2015
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11 /06/2015        LCP   Further review settlement agreement, discuss                               1.80 $225.00        $405.00
                         settlement options with WAllen and TAskew

11 /09/2015        ABA   Consider settlement proposal from Malamud;                                 2.80 $225.00        $630.00
                         consider counter proposal

11 /10/2015        ABA   Work on letter to Lexis-Nexis regarding assistance                         1.40 $225.00        $315.00


                   ABA   Consider message from KLowery at Lexis                                     0.50 $225.00        $112.50
                         regarding conference call with MHobbs

                   LCP   Revise correspondence to Lexis;revise joint                                1.50 $225.00        $337.50
                         stipulation of facts

                   WJT   Discuss upcoming meeting with KLowery and                                  0.20 $225.00         $45.00
                         MHobbs with TAskew

11 /11/2015        ABA   Work on joint stipulation of facts                                         2.20 $225.00        $495.00


                   LCP   Prepare joint stipulation of facts                                         1.20 $225.00        $270.00


11 /12/2015        ABA   Work on stipulation of facts; forward to Malamud                           1.40 $225.00        $315.00
                         counsel

                   LCP   Finalize joint stipulation of facts and send to                            0.80 $225.00        $180.00
                         opposing counsel

11 /16/2015        ABA   Work on letter to Lexis regarding assistance                               0.60 $225.00        $135.00


11 /17/2015        ABA   Conference call with KLowery and MHobbs                                    0.60 $225.00        $135.00
                         regarding case

                   LCP   Telephone conference with Lowery, TAskew and                               1.80 $225.00        $405.00
                         MHobbs; strategy discussion with TAskew; review
                         and amendment of joint representation agreement

                   WJT   Conference with KLowery, MHobbs, and client                                0.60 $225.00        $135.00
                         regarding Lexis involvement

11 /19/2015        ABA   Work on counter proposal for settlement regarding                          2.50 $225.00        $562.50
                         posting of Official Code by the Legislature and
                         distribution of discs containing the Official Code of
                         Georgia annotated to more libraries

                   LCP   Discuss settlement options with BHowerton and                              0.50 $225.00        $112.50
                         WAllen and MHobbs finalize correspondence to
                         Lexis


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11 /23/2015        ABA   Complete letter to KLowery regarding assistance                            1.20 $225.00        $270.00


11 /24/2015        LCP   Prepare requests for production and interrogatories                        8.30 $225.00      $1,867.50

                                                                                                                    _________




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                                               Atlanta, GA 30309 USA
                                  PH:      404.645.7700    FAX: 404.645.7707
                                                 www.mcciplaw.com




  State of Georgia
  c/o Code Revision Commission of State Legislature
  316 State Capitol
  Atlanta, GA 30334
  Attn: Wayne R. Allen
Date:              February 19, 2016
Inv #:             66358
Matter No.:        10539-002LIT
Matter Name:       State of Georgia v. Public.Resource.org

Professional Services


Date           Initials      Description                                        Hours    Rate    Amount


01 /07/2016       ABA        Prepare interrogatories and document requests       3.20 $225.00    $720.00

                   LCP       Telephone conference with ERader regarding          3.50 $225.00    $787.50
                             joint stipulation of facts and discovery issues;
                             finalize interrogatories and requests for
                             production; review PublicResource's summary
                             judgement motion in ASTM case

01 /08/2016       ABA        Prepare interrogatories and document requests       2.10 $225.00    $472.50

                   LCP       Finalize interrogatories and requests for           2.50 $225.00    $562.50
                             production; review Public Resource motion for
                             summary judgement in ASTM case
01 /14/2016       ABA        Review status of settlement; work on stipulation    4.20 $225.00    $945.00
                             of facts

01 /15/2016       ABA        Complete work on interrogatories and document       3.80 $225.00    $855.00
                             requests; work on stipulation of facts; submit


                                                                                  Meunier Carlin & Curfman LLC
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                                                                        Page 42 of 81    19, 2016
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01 /29/2016    LCP      Discuss discovery issues with KLowery       0.50 $225.00      $112.50

                                                                                   _________




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                                               Atlanta, GA 30309 USA
                                   PH:     404.645.7700    FAX: 404.645.7707
                                                 www.mcciplaw.com




  State of Georgia
  c/o Code Revision Commission of State Legislature
  316 State Capitol
  Atlanta, GA 30334
  Attn: Wayne R. Allen
Date:              April 7, 2016
Inv #:             68775
Matter No.:        10539-002LIT
Matter Name:       State of Georgia v. Public.Resource.org

Professional Services


Date           Initials      Description                                       Hours    Rate    Amount


01 /19/2016       MMC        Attend to and docket service of plaintiff's        0.60 $220.00    $132.00
                             interrogatories and requests for production of
                             documents and defendant's service of
                             interrogatories and requests for production of
                             documents

02 /01/2016        LCP       Prepare draft protective order                     0.30 $225.00      $67.50


                   WJT       Discuss protective order issues with TAskew        0.20 $225.00      $45.00

02 /02/2016       ABA        Review discovery requests and consider scope of    3.70 $225.00    $832.50
                             responses

02 /03/2016        LCP       Prepare draft protective order; prepare draft      1.30 $225.00    $292.50
                             responses to discovery requests

02 /04/2016        LCP       Prepare draft protective order; prepare draft      6.50 $225.00   $1,462.50
                             responses to interrogatories and request for
                             production


                                                                                 Meunier Carlin & Curfman LLC
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02 /05/2016    LCP      Prepare draft protective order and send to          5.50 $225.00   $1,237.50
                        opposing counsel for comment; prepare
                        responses to interrogatories and requests for
                        production
02 /08/2016    LCP      Review documents sent by Lexis; prepare             1.20 $225.00     $270.00
                        correspondence to opposing counsel regarding
                        production of documents
02 /09/2016    ABA      Review drafts respone to discovery requests         3.70 $225.00     $832.50

               LCP      Further correspond with opposing counsel            2.00 $225.00     $450.00
                        regarding protective order; revise protective
                        order; review discovery responses with TAskew;

02 /10/2016    LCP      Finalize protective order                           1.00 $225.00     $225.00


02 /11/2016    ABA      Review to finalize Protective Order and             2.40 $225.00     $540.00
                        statement to Court; file protective order

               LCP      Prepare responses to interrogatories and requests   4.20 $225.00     $945.00
                        for production

02 /12/2016    ABA      Case review; entry of Protection Order              0.30 $225.00      $67.50

               LCP      Prepare responses to discovery requests;            1.80 $225.00     $405.00
                        correspond with KLowery regarding responsive
                        documents

02 /13/2016    ABA      Review discovery responses by Public Resource       4.70 $225.00   $1,057.50

               LCP      Prepare responses to discovery requests             2.30 $225.00     $517.50


02 /15/2016    ABA      Work on discovery responses                         3.70 $225.00     $832.50


02 /16/2016    ABA      Review discovery responses from Public              2.90 $225.00     $652.50
                        Resource
               WJT      Initial review of defendant's responses to          0.40 $225.00      $90.00
                        interrogatories and requests for production;
                        review court's standing order for compliance
                        regarding objections

02 /17/2016    LCP      Review discovery responses; review documents        3.20 $225.00     $720.00
                        sent by Lexis

               WJT      Initial review of documents produced by             1.90 $225.00     $427.50
                        defendant

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              MMC       Create Concordance database of Commission            2.00   $50.00      $100.00
                        documents for review and possible production;
                        create Concordance database for document
                        produced by Public.Resource

               SKE      Update pleadings and discovery index; assist         1.50   $50.00        $75.00
                        with document production

02 /18/2016    ABA      Work on discovery responses                          2.30 $225.00       $517.50

               ABA      Complete discovery responses and transmit to         3.70 $225.00       $832.50
                        Counsel for Public Resource

               LCP      Prepare and serve responses to Public Resource's     7.50 $225.00      $1,687.50
                        discovery requests

               WJT      Discuss responses to discovery requests with         2.80 $225.00       $630.00
                        TAskew and LPavento; discuss issues with
                        defendant's production with team; review draft
                        response to discovery requests and provide
                        feedback on same to TAskew and LPavento;
                        review protective order in case, analyze materials
                        uploaded by defendants, and summarize issue to
                        team
              MMC       Prepare production of documents to opposing          3.50   $50.00      $175.00
                        counsel

               SKE      Assist with discovery responses; update              0.90   $50.00        $45.00
                        pleadings and discovery index

02 /19/2016    LCP      Review documents posted by Malamud; Prepare          0.50 $225.00       $112.50
                        correspondence to opposing counsel regarding
                        document production
               SKE      Update pleadings index                               0.30   $50.00        $15.00

02 /22/2016    ABA      Review Public Resource discovery responses           3.20 $225.00       $720.00


02 /25/2016    WJT      Capture state of defendant's website regarding       0.20 $225.00         $45.00
                        Georgia's production for use if defendant
                        violates protective order
02 /29/2016    ABA      Review discovery responses                           2.40 $225.00       $540.00
                                                                                             _________




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                                                                        Page 46 of 81April 7, 2016
                                                           Client Number:                   10539




Disbursements
Description                                                                           Amount

02/23/2016    Invoice#532871499-Fedex                                                  $18.43




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               LCP      Review correspondence from KLowery               0.50 $225.00       $112.50
                        regarding document production; discuss the
                        same with TAskew

03 /28/2016    LCP      Obtain discovery documents from BHowerton        2.60 $225.00       $585.00
                        and KLowery; review discovery documents

03 /29/2016    ABA      Work on document production                      3.40 $225.00       $765.00

               LCP      Review discovery materials and correspond with   5.80 $225.00      $1,305.00
                        BHowerton and WAllen regarding the same;
                        prepare and serve discovery materials
              MMC       Work on production of documents                  3.00   $50.00      $150.00


03 /30/2016    ABA      Prepare and conduct conference call; review      2.10 $225.00       $472.50
                        status of case and consider next steps

               LCP      Prepare for and conference call with opposing    1.20 $225.00       $270.00
                        counsel regarding settlement
                                                                                         _________




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Telephone: 404.645.7700                                                                   Fax: 404.645.7707
                                         999 Peachtree Street NE, Suite 1300
                                                  Atlanta, GA 30309
                                          Federal Tax I.D. No.: 27-20633899
                                                 www.mcciplaw.com



       State of Georgia                                                                June 23, 2016
       c/o Code Revision Commission of State Legislature                               Client:       010539
       316 State Capitol                                                               Matter:       002LIT
       Atlanta, GA 30334                                                               Invoice #:    802797
       Attention: Wayne R. Allen                                                       Resp. Atty:     ABA
                                                                                       Page:              1

       RE: State of Georgia v. Public.Resource.org




       For Professional Services Rendered Through April 30, 2016


SERVICES


Date           Person     Description of Services                              Hours     Rate      Amount
04/13/2016     ABA        Consider issues for summary judgement Motion           3.6   $225.00     $810.00
04/13/2016     WJT        Discuss deadlines under local rules and                0.3   $225.00       $67.50
                          scheduling order with LPavento
04/15/2016     SKE        Update pleadings index                                 0.4    $50.00       $20.00
04/22/2016     LCP        Prepare summary judgment motion and brief              5.5   $225.00    $1,237.50
04/23/2016     ABA        Review outline for summary judgment motion;            5.3   $225.00    $1,192.50
                          consider issues for motion
04/25/2016     ABA        Review issues for Summary Judgment motions             2.7   $225.00     $607.50
04/25/2016     LCP        Review public resource document production;            5.5   $225.00    $1,237.50
                          prepare motion for summary judgment and
                          related brief
04/26/2016     ABA        Reveiw and consider issues for Summary                 3.8   $225.00     $855.00
                          Judgment motions
04/26/2016     LCP        Prepare summary judgment brief                         6.2   $225.00    $1,395.00
04/26/2016     WJT        Discuss motion for summary judgment strategy           0.6   $225.00     $135.00
                          with LPavento; review and discuss Copyright
                          Office response regarding registrations
04/27/2016     LCP        Prepare summary judgment brief                         6.7   $225.00    $1,507.50
04/29/2016     ABA        Conference call with Lexis counsel; questions to       0.5   $225.00     $112.50
                          Lexis
04/29/2016     LCP        Prepare summary judgment brief including               6.2   $225.00    $1,395.00
                          telephone conference with KLowery and MHobbs
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Telephone: 404.645.7700                                                                  Fax: 404.645.7707
                                        999 Peachtree Street NE, Suite 1300
                                                Atlanta, GA 30309
                                         Federal Tax I.D. No.: XX-XXXXXXX
                                               www.mcciplaw.com



       State of Georgia                                                               July 15, 2016
       c/o Code Revision Commission of State Legislature                              Client:       010539
       316 State Capitol                                                              Matter:       002LIT
       Atlanta, GA 30334                                                              Invoice #:    804273
       Attention: Wayne R. Allen                                                      Resp. Atty:     ABA
                                                                                      Page:              1

       RE: State of Georgia v. Public.Resource.org




       For Professional Services Rendered Through May 31, 2016


SERVICES


Date           Person     Description of Services                             Hours     Rate      Amount
05/02/2016     ABA        Consider information to be provided by Lexis and      1.4   $225.00     $315.00
                          consider issues for Summary Judgment Motion
05/02/2016     LCP        Prepare summary judgment brief                        5.6   $225.00    $1,260.00
05/06/2016     LCP        Prepare summary judgment brief and motion;            8.0   $225.00    $1,800.00
                          prepare statement of undisputed material facts;
                          prepare declarations
05/07/2016     LCP        Prepare summary judgment brief and motion;           10.0   $225.00    $2,250.00
                          prepare statement of undisputed material facts;
                          prepare declarations
05/08/2016     LCP        Prepare summary judgment brief and motion;           10.0   $225.00    $2,250.00
                          prepare statement of undisputed material facts;
                          prepare declarations
05/09/2016     ABA        Prepare motion for summary judgment                   3.5   $225.00     $787.50
05/09/2016     WJT        Review and revise draft motion for summary            4.0   $225.00     $900.00
                          judgment
05/10/2016     ABA        Prepare Motion for Summary Judgment                   6.4   $225.00    $1,440.00
05/10/2016     LCP        Prepare summary judgment brief and motion;            8.5   $225.00    $1,912.50
                          prepare statement of undisputed material facts;
                          prepare declarations
05/10/2016     WJT        Conference with LPavento and TAskew to                2.3   $225.00     $517.50
                          discuss strategy for motion for summary
                          judgment; follow-up discussion regarding scope
                          of affirmative defenses and denials by defendant
05/11/2016     ABA        Prepare Motion for Summary Judgment,                  7.2   $225.00    $1,620.00
                          conference with LPavento and WThomas,
                          review Brief
              Case 1:15-cv-02594-RWS Document 58-1 Filed 05/22/17 Page 52 of 81
                                                                                    July 15, 2016
                                                                                    Client:       010539
                                                                                    Matter:       002LIT
                                                                                    Invoice #:    804273
                                                                                    Resp. Atty:     ABA
                                                                                    Page:              2


SERVICES


Date         Person   Description of Services                               Hours     Rate      Amount
05/11/2016   LCP      Prepare summary judgment brief and motion;              5.0   $225.00    $1,125.00
                      prepare statement of undisputed material facts;
                      prepare declarations
05/12/2016   ABA      Prepare Motion for Summary Judgment                     4.3   $225.00     $967.50
05/12/2016   LCP      Prepare summary judgment brief and motion;              5.0   $225.00    $1,125.00
                      prepare statement of undisputed material facts;
                      prepare declarations
05/12/2016   WJT      Discuss comments on latest brief draft with             0.3   $225.00       $67.50
                      TAskew and LPavento
05/16/2016   ABA      Prepare and review Motion for Summary                   7.4   $225.00    $1,665.00
                      Judgment
05/16/2016   LCP      Prepare summary judgment motion and brief;             12.0   $225.00    $2,700.00
                      prepare declarations; prepare statement of
                      undisputed material facts
05/16/2016   WJT      Conference with LPavento and TAskew to                  3.5   $225.00     $787.50
                      discuss motion for summary judgment strategy,
                      organization, and issues; research and discuss
                      citation requirements for statements of material
                      fact with LPavento; review draft of motion for
                      summary judgment
05/17/2016   ABA      Prepare and file the Motion for Summary                 9.2   $225.00    $2,070.00
                      Judgment
05/17/2016   LCP      Prepare and file summary judgment motion and           12.0   $225.00    $2,700.00
                      brief; prepare and file statement of undisputed
                      material facts
05/17/2016   WJT      Review and revise memorandum in support of              7.0   $225.00    $1,575.00
                      motion for summary judgment; motion for
                      summary judgment; statement of undisputed
                      facts; discuss strategy and issues with LPavento
                      and TAskew; assist in filing; preliminary review of
                      defendant's motion for summary judgment and
                      certain exhibits; preliminary review of Lexis
                      motion for leave to file amicus brief
05/17/2016   MMC      Work on exhibits to motion for summary                  3.3    $50.00     $165.00
                      judgment; Work on motion for summary
                      judgment; finalize and file same with Court
05/18/2016   ABA      Review Motion for Summary Judgment by Public            6.7   $225.00    $1,507.50
                      Resource
05/18/2016   WJT      Discuss initial impressions and strategy                0.9   $225.00     $202.50
                      regarding defendant's motion for summary
                      judgment; research possible motion to strike
                      declaration in support
05/18/2016   MMC      Docket filing of both motions for summary               0.3    $50.00       $15.00
                      judgment and Lexis' motion for leave to file an
                      amicus brief
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Telephone: 404.645.7700                                                                   Fax: 404.645.7707
                                         999 Peachtree Street NE, Suite 1300
                                                  Atlanta, GA 30309
                                          Federal Tax I.D. No.: 27-20633899
                                                 www.mcciplaw.com



       State of Georgia                                                                August 16, 2016
       c/o Code Revision Commission of State Legislature                               Client:       010539
       316 State Capitol                                                               Matter:        002LIT
       Atlanta, GA 30334                                                               Invoice #:    806463
       Attention: Wayne R. Allen                                                       Resp. Atty:      ABA
                                                                                       Page:               1

       RE: State of Georgia v. Public.Resource.org




       For Professional Services Rendered Through June 30, 2016


SERVICES


Date           Person     Description of Services                              Hours      Rate      Amount
06/01/2016     WJT        Research motions to exclude or in limine;              3.6   $225.00      $810.00
                          correlate potential witnesses from defendant's
                          initial disclosures to discovery documents and to
                          witnesses submitted as supporting motion for
                          summary judgment
06/02/2016     LCP        Prepare memorandum in opposition to                    4.2   $225.00      $945.00
                          defendant's motion for summary judgment
06/03/2016     LCP        Prepare memorandum in opposition to                    7.5   $225.00    $1,687.50
                          defendant's motion for summary judgment
06/03/2016     SKE        Update pleadings index                                 0.2    $50.00       $10.00
06/05/2016     LCP        Prepare memorandum in opposition to                   10.2   $225.00    $2,295.00
                          defendant's motion for summary judgment
06/06/2016     ABA        Review Public Resource Motion for SJ and               6.3   $225.00    $1,417.50
                          consider Motion to Strike attachements as
                          improper expert declarations
06/06/2016     LCP        Prepare memorandum in opposition to                    8.2   $225.00    $1,845.00
                          defendant's motion for summary judgment
06/06/2016     WJT        Discuss timing of oppositions to motion for            1.5   $225.00      $337.50
                          summary judgment with TAskew; discuss
                          strategy for responding to proffered testimony
                          with TAskew; discuss response in opposition
                          strategy with LPavento
06/07/2016     ABA        Review Public Resource Motion for SJ and               7.4   $225.00    $1,665.00
                          consider response
06/07/2016     LCP        Prepare answer to defendant's motion for               8.2   $225.00    $1,845.00
                          summary judgment; prepare additional statement
                          of undisputed facts; prepare opposition to
                          defendant's statement of undisputed facts
              Case 1:15-cv-02594-RWS Document 58-1 Filed 05/22/17 Page 55 of 81
                                                                                  August 16, 2016
                                                                                  Client:       010539
                                                                                  Matter:        002LIT
                                                                                  Invoice #:    806463
                                                                                  Resp. Atty:      ABA
                                                                                  Page:               2


SERVICES


Date         Person   Description of Services                             Hours      Rate      Amount
06/07/2016   WJT      Discuss response to statement of material facts       4.1   $225.00      $922.50
                      with LPavento; conference with GSU Law Library
                      to determine existence of Foreward in West's
                      Code of Georgia Annotated and confirm typo in
                      defendant's filings; review defendant's response
                      in opposition to motion for summary judgment;
                      review and revise our response in opposition to
                      motion for summary judgment
06/07/2016   MMC      Attend to and docket defendant's opposition to        0.3    $50.00       $15.00
                      motion for partial summary judgment
06/08/2016   ABA      Prepare response to Motion by Public Resource         6.1   $225.00    $1,372.50
06/08/2016   LCP      Analyze defendant's response to our summary           5.5   $225.00    $1,237.50
                      judgment; further prepare response to
                      defendant's motion for summary judgment
06/09/2016   ABA      Prepare response to Motion by Public Resource         7.4   $225.00    $1,665.00
06/09/2016   LCP      Prepare response to defendant's statement of          9.8   $225.00    $2,205.00
                      material facts; prepare response to defendant's
                      summary judgment motion
06/09/2016   WJT      Review and revise opposition to motion for            4.6   $225.00    $1,035.00
                      summary judgment and response to defendant's
                      statement of material facts; discuss strategy and
                      responses with TAskew and LPavento
06/10/2016   ABA      Finalize and file response to Motion for SJ by        9.3   $225.00    $2,092.50
                      Public Resource
06/10/2016   LCP      Prepare and file response to defendant's motion      10.8   $225.00    $2,430.00
                      for summary judgment, additional statement of
                      material facts, and response to defendant's
                      statement of material facts
06/10/2016   WJT      Discuss strategy for response in opposition to        3.6   $225.00      $810.00
                      motion for summary judgment with TAskew and
                      LPavento; research annotations in defendant's
                      XML documents; new argument that annotations
                      were excluded, including additional statement of
                      material facts and identifying documents in
                      defendant's production to support
06/10/2016   MMC      Work on exhibits to opposition to defendant's         1.0    $50.00       $50.00
                      motion for summary judgment; finalize and file
                      plaintiff's opposition to defendant's motion for
                      summary judgment
06/10/2016   SKE      Update pleadings index                                0.2    $50.00       $10.00
06/13/2016   ABA      Review response of Public Resource to                 0.6   $225.00      $135.00
                      Commission's Motion for SJ
06/13/2016   SKE      Download documents from PACER; docket and             0.3    $50.00       $15.00
                      update pleadings index
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                                          999 Peachtree Street NE, Suite 1300
                                                  Atlanta, GA 30309
                                           Federal Tax I.D. No.: XX-XXXXXXX
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       State of Georgia                                                                 April 11, 2017
       c/o Code Revision Commission of State Legislature                                Client:        010539
       316 State Capitol                                                                Matter:        002LIT
       Atlanta, GA 30334                                                                Invoice #:     820644
       Attention: Wayne R. Allen                                                        Resp. Atty:      ABA
                                                                                        Page:               1

       RE: State of Georgia v. Public.Resource.org




       For Professional Services Rendered Through March 31, 2017


SERVICES


Date           Person     Description of Services                               Hours      Rate      Amount
03/08/2017     LCP        [S1] Detailed hourly Consider summary judgment          1.8   $225.00      $405.00
                          opinion in ASTM v. PublicResource case;
                          prepare notice of the same
03/09/2017     LCP        [S1] Detailed hourly Prepare notice of filing           2.5   $225.00      $562.50
                          supplemental authority
03/09/2017     MMC        Conduct search of PACER records to determine            0.4    $50.00       $20.00
                          whether Public.Resource appealed the summary
                          judgment decision in the American Educational
                          Research Association case; pull copy of
                          summary judgment opinion from that case;
                          prepare exhibits A and B for notice of
                          supplemental authority and forward same to
                          LPavento
03/10/2017     LCP        [S1] Detailed hourly Finalize notice of filing          0.5   $225.00      $112.50
                          supplemental authority
03/13/2017     SKE        Update pleadings index                                  0.2    $50.00       $10.00
03/23/2017     ABA        Review Court decision                                   3.1   $225.00      $697.50
03/23/2017     LCP        Review court's order and prepare                        2.5   $225.00      $562.50
                          correspondence to WAllen regarding the same;
                          review issue of attorneys fees
03/23/2017     WJT        Review summary judgment order; discuss                  1.0   $225.00      $225.00
                          analysis of same with LPavento; send updates to
                          team regarding Twitter postings about copies of
                          materials on website
03/23/2017     MMC        Attend to and docket order on motion for                0.3    $50.00       $15.00
                          summary judgment
03/24/2017     ABA        Review decision and consider scope of injunction        7.2   $225.00    $1,620.00
                          and Statutory Damages
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                                         999 Peachtree Street NE, Suite 1300
                                                 Atlanta, GA 30309
                                          Federal Tax I.D. No.: XX-XXXXXXX
                                                www.mcciplaw.com



       State of Georgia                                                                 May 18, 2017
       c/o Code Revision Commission of State Legislature                                Client:      010539
       316 State Capitol                                                                Matter:      002LIT
       Atlanta, GA 30334                                                                Invoice #:   823123
       Attention: Wayne R. Allen                                                        Resp. Atty:    ABA
                                                                                        Page:             1

       RE: State of Georgia v. Public.Resource.org




       For Professional Services Rendered Through April 30, 2017


SERVICES


Date           Person     Description of Services                               Hours     Rate      Amount
04/03/2017     LCP        Negotiations with opposing counsel regarding            4.5   $225.00   $1,012.50
                          proposed injunctive relief; review further
                          amendments made by opposing counsel to
                          proposed order; further amend proposed order;
                          prepare arguments regarding broad injunction
04/04/2017     LCP        Prepare correspondence to opposing counsel              1.5   $225.00     $337.50
                          regarding injunctive relief and case law support
                          for broad injunction
04/04/2017     WJT        Discuss, by email, proposed injunction order and        0.5   $225.00     $112.50
                          defendant's revisions, with TAskew and
                          LPavento
04/05/2017     ABA        Review issues regarding Statutory damages,              4.3   $225.00     $967.50
                          award of atty fees and language of proposed
                          Injunction and Motion for Entry
04/05/2017     LCP        Review correspondence from opposing counsel             3.5   $225.00     $787.50
                          regarding injunctive relief; revise proposed
                          injunction order; prepare correspondence to
                          opposing counsel regarding the same; prepare
                          correspondence to WAllen regarding the same
04/06/2017     ABA        Review injunction language                              1.6   $225.00     $360.00
04/06/2017     LCP        Further modify proposed injunction order;               1.0   $225.00     $225.00
                          prepare correspondence to opposing counsel
                          regarding the same; finalize and file proposed
                          order; prepare correspondence to WAllen
                          regarding the same
04/06/2017     MMC        Revise joint motion for entry of proposed               0.5    $50.00      $25.00
                          permanent injunction to include certificate of
                          compliance and certificate of service; finalize and
                          file same with Court
Case 1:15-cv-02594-RWS Document 58-1 Filed 05/22/17 Page 62 of 81
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  EXHIBIT B
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                                             Case 1:15-cv-02594-RWS Document 58-1 Filed 05/22/17 Page 78 of 81
                                                                                         FedEx_Shipment_Detail_Payer_Det


                                                                                                                                             Shipment                    Shipment
          Invoice                                                       Shipment                                                             Freight       Shipment      Duty and Shipment Net
Payer     Month                 Service                 Shipment        Delivery      Shipment                             Shipper Company   Charge        Miscellaneous Tax      Discount Charge     Pieces in
Account   (yyyymm)    OPCO      Type      Pay Type      Date            Date          Tracking Number Shipper Name         Name              Amount        Charge        Charge   Amount Amount       Shipment
                                          Bill_Sender_P
               201602 Express   PO        repaid            2/18/2016     2/19/2016     775681864397 Montrell McCaskill Melanie Jackson            21.77           0.14        0     ‐3.48    18.43           1




                                                                                                    Page 1 of 2
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                                                                                       FedEx_Shipment_Detail_Payer_Det




Shipment             Proof of                                                                                      Recipient                                           Master                           Shipment
Rated    Original    delivery                        Recipient Company                         Recipient Recipient Postal    Recipient Invoice date                    Tracking                         Delivery
Weight   weight      recipient   Recipient Name      Name                Recipient Address     City      State     Code      Country (mm/dd/yyy)        Invoice number Number     Dom_Intl Package Type Time

        0           0 G.DEAN     Jason D. Rosenberg Alston & Bird LLP    One Atlantic Center   ATLANTA GA             30309 US              2/23/2016       532871499 null        Domestic Fedex Letter      9:16




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 EXHIBIT C
        Case 1:15-cv-02594-RWS Document 58-1 Filed 05/22/17 Page 81 of 81




ITEMIZATION AND SPECIFICATION OF EXPENSES SOUGHT BY PLAINTIFFS



COURT FILING FEES
Date      Description                             Amount       MCC Invoice
                                                               No.
  7/21/2015 Complaint Filing Fee                        400.00       59285


COMPUTERIZED LEGAL RESEARCH
Date    Description                               Amount         MCC Invoice
                                                                 No.
  7/31/2014   Online research - LexisNexis              154.70         43666
   7/3/2014   PACER                                      12.60         43666
   1/5/2015   PACER                                       2.20         50348
  7/31/2015   Online research - LexisNexis              203.22         58757
  8/31/2015   Online research - LexisNexis              402.11         59285
  9/30/2015   Online research - LexisNexis              696.70         62588
 10/31/2015   Online research - LexisNexis             1232.63         62588


COURIER CHARGES
Date     Description                              Amount         MCC Invoice
                                                                 No.
  2/23/2016 Federal Express Courier charge for             18.43       68775
            delivery from Meunier Carlin &
            Curfman to Alston & Bird on
            2/19/2016
